Case 5:01-cr-30058-SGW         Document 494 Filed 02/26/13          Page 1 of 1        Pageid#:
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UNITED STATES O F AM ERICA                 )      CriminalCaseNo.5:01cr30058-6
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V.                                         )      2255 FINA L O RD ER
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                                           )      By:Sam uelG .W ilson
JO N ATH AN A M EN EZ.                     )      U nited StatesD istrictJudge

       ln accordance w ith the m em orandlzm opinion entered on thisday,itishereby

ORDERED andADJUDGED thatJimenez'smotionpursuantto28U.S.C.j2255(ECFNo.
492)isDISM ISSED withoutprejudiceassuccessive,andthismattershallbeSTRICKEN from
thecourt'sactivedocket. Further,findingthatJimenez hasfailed to maketherequisite

substnntialshowingofthedenialofaconstimtionalright,asrequiredby28U.S.C.j2253/),a
certitk ate ofappealability isDENIED.TheClerk oftheCourtisdirected to send acopy ofthis

orderand theaccompanyingm emorandum opinion to Jim enez.

       EN TER :Febnzary 25,2013.
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